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           EXHIBIT C
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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                              Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.

         CURLING PLAINTIFFS’ THIRD SET OF INTERROGATORIES TO
                       STATE DEFENDANTS

      Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure

(“Rule[s]”), Curling Plaintiffs hereby request that Defendants Brad Raffensperger,

Rebecca N. Sullivan, Sara Tindall Ghazal, Matthew Mashburn, Anh Le, and the

Georgia State Election Board (collectively, the “State Defendants”) answer the

following interrogatories under oath, based upon all information and knowledge

reasonably available to State Defendants, their attorneys, agents, and all others

acting on their behalf, in accordance with the definitions and instructions below,

within fifteen (15) days of service hereof. State Defendants may produce documents,

electronically stored information, and tangible things specified herein at the offices

of Krevolin & Horst, 1201 West Peachtree Street, Suite 3250, Atlanta, Georgia

30309.
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                                   DEFINITIONS

      “All” and “each” shall be construed as all and each.

      “And” as well as “or” are to be construed either disjunctively or conjunctively

as necessary to bring within the scope of the Requests all documents or other

information that might otherwise be construed to be outside their scope.

      “Any” means each and every.

      “Complaint” means “Third Amended Complaint” filed as Document

No. 627 in the Action as modified in the Court’s Order (Dkt. No. 751) on

Defendants’ Motions to Dismiss with respect to claims and parties that have been

dismissed in whole or in part.

      “Concerning,” “related to” or “relating to,” and “regarding” shall mean

analyzing, alluding to, concerning, considering, commenting on, consulting,

comprising, containing, contradicting, describing, dealing with, discussing,

establishing, evidencing, identifying, involving, noting, recording, reporting on,

related to, relating to, reflecting, referring to, regarding, stating, showing, studying,

mentioning, memorializing, or pertaining to, in whole or in part.

      “Constitute” means containing, comprising, embodying, making up, or to be

the elements or components of.
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      “Current Election System” means any servers, desktops, laptops, tablets,

smart phones, removable media (such as memory cards), ballot-marking devices

(BMDs) (including ImageCastX Ballot-Marking Devices), BMD-adjacent

equipment (including ImageCast Precinct Polling Place Scanner and associated

printers or touchscreens), and any software and firmware installed on any such

servers, devices, BMDs, or BMD-adjacent equipment (such as any version of the

Election Management System (EMS), the BallotStation software, or the software

associated with the “Dominion Voting Democracy Suite” (D-Suite)) used to

record, tabulate, or secure votes in any election in the state of Georgia.

      “Describe,” when used in connection with a communication, means to

identify the date of the communication, the parties to the communication (speaker,

listener, participant, sender, recipient, etc.), and the contents of the communication.

      “Describe,” when used in connection with a meeting, means to identify the

date of the meeting, the participants in the meeting, and the nature of each of the

discussions at the meeting.

      “Describe,” when used in connection with an agreement or contract, means to

describe the parties to the agreement, the effective dates of the agreement, and all

terms of the agreement.
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      “Document” and “documents” shall be synonymous in meaning and equal in

scope to the usage of that term in Rule 34(a), and includes “tangible things” (as that

term is used in Rule 34(a)(1)(b)) as well as anything that falls within the definition

or meaning of “electronically stored information” (as that term is used in

Rule 34(a)(1)(A)) or of “writings” or “recordings” in Federal Rule of Evidence

1001. A draft or non-identical copy of a document shall be considered a separate

document within the meaning of the term “document.”

       “Dominion” means Dominion Voting Systems, Inc., its predecessors,

divisions, subsidiaries, affiliates, partnership and joint ventures, and all directors,

officers, employees, contractors, representatives, and agents thereof, and any other

person acting on its behalf or under its direction or control with respect to subject

matter of these Topics.

      “Dominion Worker” means employees, contractors, technicians,

representatives, and agents of Dominion, and any other person acting on its behalf

or under its direction or control with respect to subject matter of these Topics.

      “Identify” means: (a) regarding an individual, the individual’s full name,

present address (or, if unknown, the last known address), telephone number, business

address, and place of employment and position; (b) regarding an entity, the name

under which the entity customarily does business, its address, its telephone number,
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and, if known, the identity of the individual believed to have the most knowledge

with respect to the matters in the relevant interrogatory; (c) regarding any document

with a production number, the production numbers stamped on the first and last

pages of the document.

      “Including” means including without limitation.

      “Person” and “Entity” mean and include a natural person (i.e., an individual),

a group of natural persons acting as individuals, a group of individuals acting in a

collegial or concerted capacity (e.g., as a committee, a board of directors or advisors,

etc.), an association, firm, corporation, joint venture, partnership, company,

governmental unit or agency, and any other business, enterprise, or entity, unless

otherwise limited or specified in the Requests.

       “Optical Scanner” refers to devices, machines, or computers which produce

coded signals corresponding to the marks or characters on a paper ballot and used

for reading, registering, counting, or recording votes in elections, including without

limitation those used at any time the in the State of Georgia.

      “Relevant Time Period” means January 1, 2019 until the present unless

otherwise indicated.

      “Security Breach” means any incident that involved unauthorized access

(whether by unauthorized parties or by authorized parties in excess of their actual
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authorization) to any aspect of the Current Election System, regardless of whether

any information or data was copied, altered, modified, deleted, taken, or stolen

      “Security Vulnerability” means any known, identified, alleged, believed, or

suspected risk (whether or not mitigated by other technology or procedures) of

unauthorized access to any aspect of the Current Election System, including without

limitation potential unauthorized access to voter registration information; potential

unauthorized access to keys, passwords, or log-in credentials; an actual or possible

ability to upload or implant malware; an actual or possible ability to alter vote

tabulation, recording, results, reporting, or auditing; and potential alteration or loss

of election results data.

       “You” or “your” mean and include Secretary of State Brad Raffensperger,

any of his predecessors, current and former members of the State Election Board,

the divisions, departments, partnerships, and joint ventures of or subject to the

control of either the Georgia Secretary of State or of the Georgia State Election

Board, all directors, officers, employees, contractors, consultants, representative,

and agents thereof, and any other person acting on its behalf or under its direction

or control with respect to subject matter of these Topics, including to the extent

applicable the Georgia Technology Authority.
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                                  INSTRUCTIONS

         1.   Unless indicated otherwise, the relevant period for each interrogatory

is January 1, 2019, to present.

         2.   Each Interrogatory shall be answered fully, in writing, and under oath.

         3.   When answering these Interrogatories, provide any and all information

in your possession, custody, or control.

         4.   For each Interrogatory response, identify the sources of all underlying

facts.

         5.   If, after exercising a reasonable inquiry, you cannot fully answer any

Interrogatory, so state and answer to the extent possible, specifying your inability to

answer the remainder. State whatever information or knowledge you have

concerning the unanswered portion. Estimated dates should be given when, but only

when, exact dates cannot be supplied. Any estimates should be identified as such.

The sources and means of derivation of each estimate should be specifically set forth.

         6.   If you contend that any of the Interrogatories is objectionable in whole

or in part, state with particularity each objection, the basis for it, and the information

requested to which the objection applies, and respond to the Interrogatory insofar as

it is not deemed objectionable.
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      7.     If, in responding to these interrogatories, you encounter any ambiguity

in construing any interrogatory, definition, or instruction, set forth the reason you

deem it ambiguous and the construction chosen or used in responding.

      8.     If, after exercising due diligence to obtain the requested information,

you cannot answer any of the following interrogatories in full, answer to the extent

possible and specify what efforts you made to obtain the requested information, the

reasons you are unable to answer the remainder of the interrogatory, and what

information and knowledge you have concerning the unanswered portion. If your

answers are qualified, set forth the details of such qualifications.

      9.     Unless clearly indicated otherwise: (a) the use of a verb in any tense

shall be construed as the use of that verb in all other tenses; (b) the use of the

feminine, masculine, or neuter genders shall include all genders; and (c) the

singular form of a word shall include the plural and vice versa, as necessary to

bring within the scope of the Interrogatory all responses that might otherwise be

construed outside of its scope.

      10.    The Interrogatories are deemed to be continuing so as to require the

filing of supplemental responses pursuant to the Rules, including in the event that

(a) you obtain information upon the basis of which you know that a response was

in whole or in part incorrect when made, or though correct when made, is no
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longer entirely correct, or that the circumstances are such that a failure to amend

the answer is in substance a negligent or knowing misrepresentation, or (b) you

locate or discover information responsive to one or more of the Interrogatories,

which information has not previously been produced.


                              INTERROGATORIES

Interrogatory No. 27:

      Identify and describe with specificity all measures taken to investigate,

evaluate, remedy, mitigate, or otherwise address each of the Security Vulnerabilities

and problems with the Current Election System identified in Dr. J. Alex Halderman’s

declarations, reports, and testimony in this matter.



                            (signature on following page)
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Dated: July 28, 2021                Respectfully submitted,

                                     /s/ David D. Cross
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                                    Veronica Ascarrunz (pro hac vice)
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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
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DONNA CURLING, ET AL.,
Plaintiffs,
                                          Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.

                       CERTIFICATE OF SERVICE

      I hereby certify that on July 28, 2021, a copy of the foregoing CURLING

PLAINTIFFS’ SECOND SET OF INTERROGATORIES TO STATE

DEFENDANTS was served on all counsel of record by electronic delivery of a PDF

version.

                                          /s/ David D. Cross
                                          David D. Cross
